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GAS 245B        (Rev. 09/11) Judgment in a Criminal Case
DC Custody TSR Sheet I




                                          UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                          SAVANNAH DIVISION
             UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V   .



                      Bryan Chester Coney
                                                                                     Case Number:             4:14CR00344-1
                                                                                     USM Number:              19115-021

                                                                                     Katie A. Brewington
                                                                                     Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to Counts I and 15
   pleaded nolo contendere to Count(s)                       which was accepted by the court.
   was found guilty on Count(s)                       after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                  Offense Ended          Count

18 U.S.C. § 286                  Conspiracy to defraud the United States with respect to claims                     September 2011           1

18 U.S.C. § 1028A(a)(1)          Aggravated identity theft                                                            May 3, 2011            15

      The defendant is sentenced as provided in pages 2 through              6       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on Count(s)
    Counts 2 through 14                           0 is 0 are dismissed as to this defendant on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             March 16, 2015
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge



                         U. . DISTRICT COURT
                         Souhern District of Ga.                             William T. Moore, Jr.
                             Filed in office                                 Judge, U.S. District Court
                                                                             Name and Title of Judge

                                           yCl

                                                                             Date
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GAS 2458              (Rev. 09/I1) Judgment in a Criminal Case                                                         Judgment - Page 2 of 6
DC Custody TSR        Sheet 2— Imprisonment

DEFENDANT:                   Bryan Chester Coney
CASE NUMBER:                 4: 14CR00344-I


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
          term of: 37 months as to Count I and 24 months as to Count 15, to be served consecutively, for a total term of 61 months of
          confinement. This sentence shall be served consecutively to the revoked state term of probation in Chatham County Superior
          Court Docket No. CR110728.


          The court makes the following recommendations to the Bureau of Prisons:
          It is recommended that the defendant be given credit toward his federal sentence for all time served in custody since October 2,
          2014. Designation to the Bureau of Prisons facility in Jesup, Georgia, is recommended.


          The defendant is remanded to the custody of the United States Marshal.

     0    The defendant shall surrender to the United States Marshal for this district:

         0       at                                  0      a.m.     0 p.m.           on

         0       as notified by the United States Marshal.

     0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D before 2 p.m. on

         0       as notified by the United States Marshal.

         0       as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                 to

at                                                           with a certified copy of this judgment.


                                                                                                          UNITED STATES MARSHAL



                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
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GAS 245B             (Rev. 09/11) Judgment in a Criminal Case                                                           Judgment - Page 3 of 6
DC Custody TSR       Sheet 3— Supervised Release

DEFENDANT:                  Bryan Chester Coney
CASE NUMBER:                4:1 4CR00344-I


                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years as to Count 1. and 1 year as to Count
 15, to be served concurrently.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, tf applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, {f applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f applicable)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el
El        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)
E         The defendant shall participate in an approved program for domestic violence.     (Check, {f applicable)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
     I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
     6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in plain view of the probation officer;
 11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
     officer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court; and
 13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
     confirm the defendant's compliance with such notification requirement.
 14) any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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DC Custody TSR   Sheet 3C - Supervised Release

DEFENDANT:              Bryan Chester Coney
CASE NUMBER:            4:14CR00344-1


                                        SPECIAL CONDITIONS OF SUPERVISION
    1. The defendant shall participate in a program of testing for drug and alcohol abuse. Further, the defendant shall not
       tamper with any testing procedure.

    2. The defendant shall provide the probation officer with access to any requested financial information. The defendant
       shall not incur new credit charges or open additional lines of credit without the approval of the probation officer
       unless the defendant is in compliance with the installment payment schedule.

    3. The defendant shall inform any employer or prospective employer of current conviction and supervision status.

    4. The defendant shall submit his person, property, house, residence, office, papers, vehicle, computers (as defined in 18
       U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search conducted by
       the United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
       of contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to
       this condition.

    5. The defendant shall earn a General Educational Development diploma if such diploma is not earned while
       incarcerated.

    6. The defendant shall not enter into any self-employment while under supervision without prior approval of the United
       States Probation Office.

    7. The defendant shall not be employed in any fiduciary capacity or any position allowing access to credit or personal
       information of others unless the defendant's employer is fully aware of the offense of conviction and the United States
       Probation Office approves such employment.

    8. The defendant shall maintain not more than one personal and/or business checking/savings account and shall not
       open, maintain, be a signatory on, or otherwise use any other financial institution account without the prior approval
       of the United States Probation Office.

                                                            ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



   (Signed)
                   Defendant                                                        Date



                   U.S. Probation Officer/Designated Witness                        Date
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GAS 245B          (Rev. 09/I1) Judgment in a Criminal Case                                                          Judgment - Page of 6
DC Custody TSR    Sheet 5B - Criminal Monetary Penalties

DEFENDANT:               Bryan Chester Coney
CASE NUMBER:             4:14CR00344-1


                                               CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                           Fine                             Restitution
TOTALS           $ 200                                            $                                     $ 211,755

0     The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (A0 245C)
      will be entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                  Total Loss*                       Restitution Ordered                Priority or Percentage

Department of Treasury                                                                           $211,755                     100%
Internal Revenue Service
ATTN: "Restitution"
333 West Pershing Road
Kansas City, MO 64108




TOTALS                               $                                      $                     211,755

0      Restitution amount ordered pursuant to plea agreement $

0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the         D   fine          Z restitution.

      0    the interest requirement for the          0 fine       0 restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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GAS 245B           (Rev. 09/I1) Judgment in a Criminal Case                                                                  Judgment— Page 6 of 6
DC Custody TSR     Sheet 6A - Schedule of Payments

DEFENDANT:                Bryan Chester Coney
CASE NUMBER:              4:14CR00344-I


                                                         SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A         Lump sum payment of$ 200                               due immediately, balance due

          0 not later than                                          , or
                 in accordance      El C,       El D,         0 E, or          F below; or

B     0 Payment to begin immediately (may be combined with                     El C,         El D, or         U F below); or
C     El Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     0 Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $ ______________ over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
E     El Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     Z Special instructions regarding the payment of criminal monetary penalties:
          Pursuant to 18 U.S.C. § 3664(f)(3)(B), nominal payments of either quarterly installments of a minimum of $25 if working non-
          UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR shall be made. Upon release from imprisonment
          and while on supervised release, nominal payments of a minimum of$ 250 per month shall be made. Payments are to be made
          payable to the Clerk, United States District Court, for disbursement to the victim.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

IZI    Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
       Name            Docket Number                     Total Amount               Joint and Several Amount
       Sheryl Wilson 4:14CR00344-2                         $211,755                         $211,755
       Bryan Coney     4:14CR00344-1                       $211,755                         $211,755


U      The defendant shall pay the cost of prosecution.

U      The defendant shall pay the following court cost(s):
0      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
